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 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
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                                 )
11   UNITED STATES OF AMERICA,   )     NO. 2:11-CR-076 LKK
                                 )
12                  Plaintiff,   )     ORDER SETTING NEW STATUS
                                 )     CONFERENCE DATE AND EXCLUDING
13        v.                     )     TIME UNDER SPEEDY TRIAL ACT
                                 )
14   CRESENCIO DELGADO-EZQUIVEL, )     Court:    Hon. Lawrence K. Karlton
     et al.,                     )
15                               )
                    Defendants. )
16                               )
     ___________________________ )
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18
19        On March 7, 2013, the Court held a regularly scheduled
20   status conference.   Assistant United States Attorney Samuel Wong
21   appeared on behalf of plaintiff United States of America.
22   Assistant Federal Defender Douglas Beevers appeared with
23   defendant Crescencio Delgado-Ezquivel, who was present in
24   custody.   Dina Santos, Esq., appeared for her client defendant
25   Waldo Perez-Mendoza, who was not in custody and not present, but
26   has a waiver of appearance on file.      Ms. Santos also appeared
27   specially for defense attorney Danny D. Brace, Esq., for
28   defendant Armando Vasquez-Barragan, who was present in custody.

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 1   Michael Hansen, Esq., appeared with his client defendant Norma
 2   Gonzalez, who was in custody.     Dwight Samuel, appeared with his
 3   client defendant Victor Gonzalez, who was in custody.
 4        AFD Beevers advised the Court that he needed additional time
 5   to consider retesting of the alleged methamphetamine seized in
 6   this case.   All counsel agreed that the parties desired
 7   additional time to further investigate the case, attempt to
 8   settle this case, and advise the defendants of the ramifications
 9   of any settlement offers made.
10        The parties requested and agreed that:        (1) the Court hold a
11   status conference on April 9, 2013 at 9:15 a.m.; and (2) the time
12   period from the March 7, 2013, hearing to, and including, the new
13   status conference hearing on April 9, 2013, shall be excluded
14   from computation of time within which the trial of this case must
15   be commenced under the Speedy Trial Act, 18 U.S.C.
16   § 3161(h)(7)(A) and (B)(iv), and Local Code T4.
17        Based on the representations and stipulations of the
18   parties, and good cause appearing therefrom, the Court sets a new
19   status conference hearing on April 9, 2013, at 9:15 a.m.          The
20   Court orders that time from March 7, 2013, to, and including,
21   April 9, 2013, shall be excluded from computation of time within
22   which the trial of this case must be commenced under the Speedy
23   Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code
24   T4 pertaining to defense preparation.
25        The Court finds that the failure to grant a continuance in
26   this case would deny defense counsel reasonable time necessary
27   for effective preparation, taking into account the exercise of
28   due diligence.   The Court finds that the ends of justice to be

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 1   served by granting the requested continuance outweigh the best
 2   interests of the public and the defendants in a speedy trial.
 3        It is so ordered.
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 5   Dated:    April 9, 2013
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